 

Case 1:07-cv-05620-RJS Document 7-11 Filed 09/12/2007 Page 1 of 5

'0ru1 eq 01 warp seAe;[eq eq s1011mu 0801{1 01 se puc ‘}aqoq puc uopv.culo}uy uodn eq 01
peBa{[e legeugaleq s10112u1 01 se 1d00xe ‘QBpQIAAou>[ [nuosled umo syq;o uopnum_gv sup sa)[mu pma
"qlq ‘SHQIHHLNI V?yg ‘1uvpu9}0q 101 plooal 10 Aaulolle 01{1 sp manode mo l '[

:Aln_fled 10 segmequ 0q119p1m 0n.I10q 01 Buymonool 0q1 sagple:) (p)gv 'J'Agg'g'pa_g

pun 917L1§ ~Q'S~n 81 01 1uensmd ‘>[10}§ mQN 10 10;11sg(1 woqmog 0q1 105 uno;) 10;11sgq 301213
pawn am ul sopede 01p911!wp9 /€IHP /<QUlOllv 119 "OSEI ‘OI'I{)I¢INOH ‘S (IHVHOIH

( S£)NDI .»10 A.LNQO:)

:'ss (
( )IHOA AA§IN L»10 illvls

 

X
'1uepua_;a(]
“anl ‘SHOIH:»LLNI VMI
-1suge31z-
‘SJJ!w!vlJ
NOILOW
-Ssouo ¢10 LHOJJHS NI
an Nollow vaw 01
Nolllsoddo NI llAvau.»Iv ‘S&IHLSHHL Sv

‘NC>IIHH‘O 'IflV¢I Pue EI(RIO.LI '1` 'IEIVH.'.)IW

/{q ‘GNH.LI NOIlVHEIJOO[) ([NV .LNEIIAI'\E[{)VNVW
}IO‘£[V”I SHEIlNEI<IHVQ A.I.INIC)IA (INV A.I.IC)

)IHOA AAEIN HHJ. Pu\z GNHJ AJ.I}IVHC) SHEIlNHJHVD
¢IO rII§)NHOQ lDIHlSI(I Alll) )IHOA AAHN ‘([NH¢I
A}I.LSH(INI (INV 'IVNOI.LVQH(IH ‘DNINIVHlEIH
NVWAEIN}IHOI` ‘¢IIHSEI[)I.LNEI}I¢I<IV S}IEI.I.NE[¢I}IV[)
¢IO 'II§)NHOQ lOIHlSIG ALIQ )IHOA AAEIN ‘([Nfl¢{
.&LIHNNV SHEILNE{JHVO ).IO ’II§)NHO[) lDIHlSIG
AJ.ID XHOA MEIN ‘(INHJ NOIlV[)VA SHE[J.NEIJHV[)
.:IO ’IIC)NHOZ) lDIHlSIG A.LIC) )RIOA AAEIN ‘([Nfl¢l
EI}IV.LI'IHAA S}IEI.LNE{<IHVQ 210 TIQNHOQ ll)lH.LSI(I
Al.l$ )I}IOA AAEIN ‘(INII¢I NOISN§I¢I SH§LLNEI<IHVZ)
¢IO 'IIQNIIOD .LDRI.LSI(I A.LIC) XHOA AAE{N C>IH.I.

 

X
)IHOA AAEIN ¢IO ll)IHlSIG NHEIHlHOS
lHHOD .IDIHJ.SI([ SEIlVlS (IC>Il.INfl

 

Case 1:07-cv-05620-RJS Document 7-11 Filed 09/12/2007 Page 2 of 5

9 10 z 939<1

1u010111ns 1111AA 1101121011103 1u2pu010(1 9111 qs1u1n1 01 /(1110 pepaeu pu2 ‘10112111 s1111u1 aouanbesuo:)

10 sp0110d 0111 10 112 p011pn2 Ap20112 p211 s1111u121d 9111 ‘2u19d2;) ‘11/\1 10 11A2p111V p0x011u2 0111
u1 p010u /{11d2 s2AA s2 ‘10A9M011 51110110 s111 0119110 s1111p01201un1u1u001u0110d0p 1110 1 ‘9

'11pn2 101110u2

0111111qns pu2 s1u2111n0002 ‘s1111u121(110211100 u011210d10;)1112p11910(1 0111 12111p0s0d01d ‘1911121 ‘1nq

‘p12AAV u0112111q1V 011101202/\ 01 Bu1111m1m s2AA 011 p0s1Ap2 011/n "bsg[ ‘s10q219 m01puV 111011 1120 2
p0A10001 911 011111110111M 12 ‘L()()z ‘17; 1{21/\1 1111m esuodsal 011 p9A10001 manode 11101 'g

‘1091911 112d 2 0p2111 pu2 1 11q111x;1[ s2 0191011 pexauu'e 81101101 1211110 Adoo 9191d11100

pu2 1091100 ‘0n11 V '120dd2 01 p91121 11 9121) 0111101 091 s‘1012111q1v 011110 1u91111(2d s‘u011210d10;)

1u2pu019(1 9111 101 03u2110x9 u1 ‘01u28 01202/\ 01 1u0su00 110111 p01s0nb01 pu2 ‘110112111q1V 9111 12

120dd2 01 01n1121 s‘u011210d10;) 11121)11010(1 101 uos201 911110 1119111 8u1s1.1dd2 ‘1asun00 ‘s111111121(1 0111 01
0101~\ 011 ‘L()()Z ‘g 1 110121/\1 u0 ‘A1120111:)0ds pu2 ‘u011u0101 s ‘1uau0d0p 1110/§ 10112 A11.1qu '17

'11A2p1_11v s‘1001110 pu2 10p101101211$ 010$ s‘u011210d103 0111

u1 111Bu91 12 111101 10s 1911112111 9111111 u011210d.103 1u2pu919(1 0111/{q Bu1.120dd2 11111n210p 2 19112 9p2111

stem p12AA2 110111AA ‘L()()Z ‘()z 1{12n.1q0:1 p012p pmAAV pu2 u01u1d() s‘1012111q1v u210 00110u p0A10001
11 19112 "(LL'] ‘SH()IHH 1511 szg ‘11121)11010(1 Aq p9328u9 s2AA manode mo 1 '§

'u101911 111Su01 12 111101 198 10112u101011 spun013 9111u0dn ‘110112111q1v 911112 Su1.120dd2 111 11n210C[
s‘1u2pu010(1 0111 pu2 u01102 11121su1 0111111 Su1p291d u1 11112101) s‘1112pu019q 01111110q 01202A 01 u01101/\1
~ssolg s‘1112pu019(1 911110 110ddng u1 pu2 fu0010111 00u2120dd2 u1 11n210p 110 0p2u1 pmAA2 u0112111q12
u2 u0 111911131)11_[101u9 01 s)1008 110111~\ ‘1u121d11100 5111111121d 0111 3u110msu2 111 11112101) p080112 11210
11ns:)1 2 82 1u2pu910q 0111 1su12§2 1u0u13pn[101u0 01 s)pas 110111M ‘esmz;) luqu 0110p10 Aq 110 1113n01q

‘110110111 ‘s111111121¢_:1 0111 01 110111sodd() u1 u01121111111v s1111 s0>12111 manode mo 1 'z

 

Case 1:07-cv-05620-RJS Document 7-11 Filed 09/12/2007 Page 3 of 5

§ 10 s 9391

s111 10 10s11n00 ‘s1111u121(1 p0s1Ap2 3a1/1211 s111 011dsep 12111 s910u manode 11101 '11
'sSQ1pp2 ss0u1an 1110111\0
811 12 u011210d10() 0111 01 passe1pp2 1121u 121n391 Aq 130/1198 stem 91u2s u011AA ‘11011210d103 1112pu910q
0111Aq p0A10001 s2m 1u91u3pn_f11n210p 101110 01 u0110111 ‘s1111u121d 011110 00110u ‘p201s111 ‘()1
'91u2s 10 9121310 A12101003 0111
Bu1s1Ap2 1n01111m ‘001/\19$ 101 ssa1pp2 u2 Bu1qs1u1n1 00u1s p01200191 3111/1211 u011210d10;) 1u2pu010(1
9111pu2 ‘9121§ 10 /{12101003 9111u0dn 901/uss Aq p912n100119 uaaq Bu1A2111u121du10;) pu2 su011111mS
0111 10 001/1108 01 an A1q210u 1s0111 ‘u011210d10;) 1u2pu010(1 0111 Aq p0A19001 19A911 stem 91112s 10
90110u A101u11 ‘p12AAV u0112111q1V 0111u1.1111100 01 u01102 u2 00u0111u100 A1111012dd2 p1p s111111121(1 0111
q3n0q112 ‘2u10d2;) '11/\110 11A2p111V p0x0uu2 0111u1 111Bu01 12 111101 10s suos201 011110;1 ‘6
'1001011 112d 2 0p2u1 pu2 z 11q1qx5{
s2 0101911 p0xauu2 s1 101101 12111 10 Adoo 0191du100 pu2 1091100 ‘an11 V '21110d2;) '11/\1 10 11A2p111v
pexauu2 0111u1 111Bu01 12 111101 10s suos201 0111101 ‘u0112111q1V 011112 8u1129dd2 u1 11n210p 0111 01202A 01
0p2111 sq p[noo u0112011dd2 ‘Qums 101 ssooo1d 10 901A10s u0dn121111u0110 s111 p0s1Ap2 manode 1110/§
110111AA 01 osuodsm 111 ‘p12AAV 110112111q1V 0111 111111u00 01 u01102 112 00ueu111100 01 u0111101u1 11011110
1u0110d0p 1110/§ pas1Ap2 10sun00 ‘s1111u121(1 ‘L()()z ‘Z1 011111 p912p 101101Aq ‘ss01011110A0N 'g
`1‘19!19 S!‘I
Aq u0)121u0111s0d 0111 3u1p12301 111111 1111AA p211 s2AA u0112s10Au00 011 ‘s10q219 '11/\1 1111M u0112s10Au00
s111 10 u011210d10;) 1u2pu010(1 0111 p0s1Ap2 011 011111 0111 12 ‘10112111 p012101un u2 u1 su0111s0d0p
10 pun01 0A1su01x9 u2 101 11011212d01d 111 p9823u0 A10A1102 s2m 1u0110d0p 1n01{ SV 'L
'qu010p 2 0s0d101u1 01 u011210d10;) 1u2p11019q

9111 1111110d 01 s2 os p011pn2 Ap20112 Sp0110d 112 101 sa10110101_10p 13080112 110111 10 110112111011111001)

 

Case 1:07-0v-05620-RJS Document 7-11 Filed 09/12/2007 Page 4 of 5

§ 10 17 0301

0111 01011AA 80011218111110110 10pun pu2 ‘0)12181111 12011010 2 1011121 1nq ‘11n210p

1211011u01u1 112 10 0A11201pu1 10u 012 110111AA ‘u0112111q1V p01np01108 0111 12

120dd2 01 p01121 u011210d10;)1u2pu010(1 0111110111M uodn 8001121811m0110 0111 '§1
'p0180nb01
82AA 11 10112 0u111 Au2 12 A11121n01112d 12111 0p1A01d 01 01n1121 ‘8111111121‘1 011 _L ‘(1

'u0112111q1V p01np01108 011110
00u2Ap2 u1 ‘A11121n01112d 110n8 01n008 01 8110110 8‘u011210d10;) 1u2p11010(] 011 _L ';)
‘p0p1A01d 0q 0100u0p1A0 1211nq01 1211u118 1111110d 01 82
08 112101)111010111118 u1 3u1)1021 1{1101111 010AA 81111210 ‘81111u121(110 00u212q 0111 'g
'p0p1A01d 0q 01 00u0p1A0 1211nq01 01q2u0 01 p0p1A01d 010AA 8121n01112d
1u010111n8 111qu 101 8001{01du10 0M1 0111 10 81n011 0111 8p12301 s2 81111u121d
10 8u01110882 0111 01n101 A112010 110111AA 8p10001 8211 u011210d10;) 1112pu010(1 0111 ‘V
:121118AA0118 011128 ‘/(11201_1100dg '811n210p 1110q 01202A 01 p011nb01 81u0111010 011110 11020 A11121n01112d
1111/n 8011811q2180 2u10d2;) '11/\1 10 11A2p1_11v 0111 12111 80A0110q 1{1110/\ 1u0u0d0p 1110 1 'g[
'M2q 10 u1npu21011101/\1 210 001/1108 1111/m 08u0d81p 011{q01011 0p2111 81 1s0nb0112111110n8
‘p01u218 0q A2u1101101 110n8 110111m uodn 8pun013 0111pu2 ‘u0112111q1V 011112 Bu1120dd2 11111n210p 811 82
110AA s2 u01102 81111111 1u121d11100 01113u110m8u2 u111n210p 8‘u011210d10;) 1112pu010(1 01111110q 01202A
0110M0d 1u01011111 811 10 012M2 110AA 81 11n0;) 81111 12111 1u0p111100 81 1110u0d0p 11101 'Z1
'01010111 0p2111 0q p1n00 08110d801 Au2 01010q A13u1p10002 pu2 ‘101101
‘810q21{) '11/\110 11012d81p 10112 A2p 01111:)0011011111100 82AA u01102 1111111AA 011112111 101111r11 8010u1110u0d0p
1n0_1 '83u1p201d 011110 Adoo A8011n00 2 p0112111 10u 011128 10112110q u0111121d1u0;) pu2 8u0111umS 0111

10 001A10S 1d0002 01 p0180nb01 1011110u 82AA 011 ‘u011210d10;) 1u2p11010(1 011110 112110q 110 00u2120dd2

 

Case 1:07-0v-05620-RJS Document 7-11 Filed 09/12/2007 Page 5 of 5

s 10 9 0321

[8LLL HSH]'DSE[ ‘OI”IDI¢INOH 'S GHVHDIH

 

Looz ‘zl 10011101<108
)110_1 AA0N ‘111{1>1001§1 :p012(1

 

'80s1u101d 0111u1 01q211nb0 pu2 10d01d ‘1811[ 111008 A2111 11110;) 81111 01 82101101
1u010111p pu2 101111111 ‘101110 110n8 0A211 u011210d10;) 1u2pu010(1 011112111 pu2 8100d801 112 111 p0111213
0q u01101/\1-88013 8‘11011210d10;3 11121)11010(1 011112111 ‘8100d801 112 u1 p01u0p 0q 1101101/\1 ‘8111111121(1 0111
12111 8180nb01 A11n1100ds01 1u0u0d0p 1110/§ ‘8u08201 8u1030101 011110 112 101 ‘§{H()J§[H§[HM

'81110111 0111u0 p0u11111010p
0q 01 /{810A011u00 81111 1111110d pu2 .mwom 101 8110112011dd2 0111 111218 11n0;) 81111 12111011nb01 00118n_f 10
8180101111 011112111 811111qn8 /(11n1100d8011u0u0d0p 1110/§ ‘Bu1030101 011110 8182q 0111 110 'L[
'p01u213 0q 081AA0>111 p1n00 u0112111q1V 011112
3111120dd2 u111n210p 8,u011210d103 1u2pu010q 0111110111/\¢\ uodn 8182q 2 111101 8108 01112§ '91
‘p0111213 010AA Su1p201d u1 11n210p 8,u011210d10;)1112pu010(1 011101202A 01 u0112011dd2 u11111m
011111 1u121du103 ,81111u121c1 0111 01 p080d101111 0q p1n0m12111111121;)-101un03 pu2 808u010q 0A1121111111V
‘10M8uv p080d01d 2 81 1001011 112d 2 0p2u1 pu2 g 11q1qx§{ 82 0101011 p0x011uV 'g[
'Zu1p201d pu2 3111120dd2
u1 811n210p 811 01202A 01 p0A0111 ,{1011111 8211 u011210d10;) 1u2p11010(1 011112111 '{)
'00110u 121110210 )1021 0110111211nq ‘1001B0u 1211011u01111 01
0np10u 82/\¢\ 011128 12111u0112118u0u10p 2 1111AA ‘u1232 ‘1u121d11100 ‘81111u121c1 0111
10M8u2 01 p01121 11011210d10;) 1112p11010(1 0111110111M uodn 800u218111n0110 0111 ':1
'8010110101101) p0110882

‘8111111121(1 011101 08110101) 2 p0110882 A1q2118u01110p p211 u011210d10;) 1u2pu010(1

